      Case 4:21-cr-00032-CDL-MSH Document 160 Filed 02/24/23 Page 1 of 11



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION

UNITED STATES OF AMERICA                  *

vs.                                       *
                                                     CASE NO. 4:21-CR-32 (CDL)
CONSTANTINE VARSAMAS VARAZO,              *
II,
                                          *
       Defendant.
                                          *

                                  O R D E R

       Defendant has filed a motion for a new trial (ECF No. 144)

based upon (1) alleged error in admitting hearsay evidence of the

contents of a bookbag containing drugs and a gun, (2) a violation

of Defendant’s Confrontation Clause rights by the admission of

hearsay evidence regarding the bookbag and its contents, and (3)

trial counsel’s influence on Defendant’s decision not to testify

and    counsel’s    decision   not   to       call   a   witness.   Because   the

interests of justice do not require a new trial, Defendant’s motion

is denied.     Fed. R. Crim. P. 33(a).

                               THE JURY VERDICT

       The jury found the Defendant guilty of the three counts

charged in the indictment: (1) possession with intent to distribute

methamphetamine weighing at least 50 grams or more, (2) possession

with intent to distribute heroin, and (3) possession of a firearm

in furtherance of a drug-trafficking crime.                Jury Verdict 1-2, ECF

No. 93.
    Case 4:21-cr-00032-CDL-MSH Document 160 Filed 02/24/23 Page 2 of 11



                               DISCUSSION

     Defendant was a passenger in a vehicle driven by one of his

co-defendants and also occupied by another co-defendant. Randolph

County Sheriff’s Deputy Chandler Buchanan attempted to make a

traffic stop of Defendant’s vehicle.          Instead of stopping, the

driver of the vehicle occupied by Defendant fled, leading Buchanan

on a multi-county, high-speed, nighttime pursuit.             During the

pursuit, Buchanan observed items being thrown from the vehicle he

was chasing.    He eventually stopped the Defendant’s vehicle and

arrested the driver, the Defendant, and the third occupant.1

     Four days after their arrest,          James Eidson, who was an

employee of Miller Supply Company, found a “bookbag” in the ditch

on the property of Miller Supply Company that fronted the highway

where the high-speed chase had occurred four days earlier.          Eidson

provided the bag with its contents intact to his boss, Cliff

Miller.    Miller contacted Russell Chapman, a local probation

officer whom he knew. After inspecting the bag and observing drugs

and a gun inside the bag, Chapman called the Randolph County

Sheriff’s Department.     An officer with the sheriff’s department,

Wallace Price, seized the bag and its contents as evidence, which

he later gave to evidence custodian Darrell Dowdey.




1 Defendant’s co-defendants entered into plea agreements with the
Government, with one of his co-defendant’s testifying for the Government
at Defendant’s trial.


                                    2
   Case 4:21-cr-00032-CDL-MSH Document 160 Filed 02/24/23 Page 3 of 11



        A. Hearsay and Confrontation Clause

        At trial, the Government called both Buchanan and Chapman as

witnesses.        During his direct examination by Government counsel,

Buchanan testified that Chapman contacted the Randolph County

Sheriff’s Office after he had “seen what he was looking at” in the

bookbag.    Trial Tr. Vol. I 46:19-46:24, ECF No. 109.                      Government’s

counsel then asked Buchanan, “what do you mean, ‘when he seen what

he was looking at’?”           Id. at 46:25-47:1.

        Defendant’s     counsel    objected         as    follows:    “Excuse       me   for

interrupting,       but    that   calls    for      hearsay.”         Id.    at     47:3-4.

Government’s       counsel     responded       to    the    objection       as     follows:

“Officer Buchanan just testified that Rusty Chapman, when he seen

what he was looking at, called in to the Russell (Randolph) County

Sheriff’s Office. I asked him what did he mean, ‘when he seen what

he was looking at,’ repeating the words that he just said.”                              Id.

at 47:6-10.        When the Court pointed out that Defendant’s counsel

“contends        that   what    Chapman    told          [Buchanan]    was        hearsay,”

Government’s counsel replied that she did not “ask for Officer

Buchanan to testify as to what Chapman said. [She] asked him what

he meant by ‘what he seen, what he was looking at,’ what was the

information that was relayed.”                 Id. at 47:11-16.              Defendant’s

counsel responded, “[t]hat’s still hearsay.”                    Id. at 47:17.            The

Court     then     asked   Government’s        counsel       whether        she    offered

Chapman’s statement to show what Buchanan “did in response to it


                                           3
   Case 4:21-cr-00032-CDL-MSH Document 160 Filed 02/24/23 Page 4 of 11



or for the truth of what was said?”              Id. at 47:18-20.       Government’s

counsel responded that the statement was “to show what he did in

response to it . . . to show how that book bag got from the side

. . . of the road to police custody.”                   Id. at 47:21-48:2.             The

Court    thus     overruled    the   objection,         explaining      that    if     the

Government was “offering it for that purpose, it is not hearsay.”

Id. at 48:4-5.

        Buchanan then answered the Government’s question regarding

what he meant by “[w]hen [Chapman had] seen what he was looking

at”:    Chapman    “opened     a   book   bag,    and    there    [were]       items   in

the . . . book bag that appeared to be narcotics. And there was

also a firearm inside the book bag.”               Id. at 48:17-20.

        The Court then gave the following limiting instruction to the

jury: “Ladies and gentlemen, that testimony is admitted not to

show what was actually in the bookbag but to show what law

enforcement       did   in    response    to     receiving       that   information.

Otherwise, it would be [a] statement of a witness who’s not in

court, and they can’t testify as to those type items for the truth

of what they said. There can be other evidence of that, but that

would be hearsay. So the purpose for that evidence at this point

is for them to show what was done in response to hearing that

information.”       Id. at 48:21-49:4.

        To the extent that Defendant maintains this evidence was

hearsay, he is wrong.          The evidence was not admitted to show the


                                          4
   Case 4:21-cr-00032-CDL-MSH Document 160 Filed 02/24/23 Page 5 of 11



contents of the bag, i.e., the truth of what Chapman told Buchanan—

that a gun and drugs were in the bag.            The evidence was admitted

to show why Buchanan and the Randolph County Sheriff’s Office took

custody of the bookbag and its contents.             They took control of it

because Chapman told them he had located a bookbag with a gun and

drugs.   Because the evidence was not admitted for the truth of the

matters asserted in the statement, it was not hearsay.                  And the

Court explained this to the jury in its limiting instruction.

Moreover, Chapman later testified in court and subject to cross-

examination that he found the gun and drugs in the bag, thus

eliminating any hearsay taint.              The Court’s overruling of the

specific hearsay objection made by Defendant’s counsel to the

Buchanan testimony was not error.              Defendant’s counsel made no

objection    that   the   Court’s     ruling   violated   his    Confrontation

Clause rights, and it is difficult to understand how such an

objection could have been made in good faith given that Chapman

eventually    testified    at   the    trial   and   Defendant    had   a   full

opportunity to cross-examine him. To obtain a new trial, the Court

must find that the interest of justice requires it.              Fed. R. Crim.

P. 33(a).    The interest of justice certainly does not require or

authorize a new trial based upon the Court’s admission of evidence

consistent with the Federal Rules of Evidence which the Defendant

had an opportunity to confront.




                                        5
   Case 4:21-cr-00032-CDL-MSH Document 160 Filed 02/24/23 Page 6 of 11



        Defendant’s motion for new trial broadly argues that it was

error to admit evidence that Eidson found the bookbag in a ditch

near    the     road   where   the     chase      occurred.     That    evidence   was

introduced through the testimony of probation officer Chapman.

Notably, no objection was made at trial as to that testimony.

Therefore, this alleged error, which is raised for the first time

in Defendant’s motion for new trial, requires a slightly different

analysis.       The standard for granting a new trial remains the same—

does the interest of justice require a new trial?                   But the absence

of an objection at trial factors into that analysis.

        Chapman testified that the owner of Miller Supply called him

about     the     bookbag      found     by       his   employee,      James   Eidson.

Specifically, Chapman testified at trial that Miller told him that

“one of his employees found a backpack in the ditch of his business

there on Highway 82 that he thought had suspected drugs and a gun

in it.”       Id. at 80:3-6.     Chapman further testified that he “drove

to Miller Supply there in Cuthbert on Highway 82” and “met Mr.

Miller and a James Eidson, who is the employee that actually found

the bag laying in the ditch.”                 Id. at 80:11-14.      With Miller and

Eidson present, he “opened up the bag and looked inside of it, and

[he] saw what [he] suspected to be methamphetamine, a handgun, and

some scales.”          Id. at 80:15-17.            Thus, Chapman testified as to

what Eidson and Miller told him about where they found the bag

that contained the gun and the drugs.                   The Government did not call


                                              6
   Case 4:21-cr-00032-CDL-MSH Document 160 Filed 02/24/23 Page 7 of 11



Eidson or Miller as witnesses, and it made no attempt to explain

whether they were unavailable.     Consequently, Chapman’s testimony

that Eidson and Miller told him that Eidson found the bag in the

ditch near the road where the chase had occurred was hearsay.            As

noted previously, however, Defendant’s counsel did not object to

the testimony.   While he arguably had a standing objection to the

admissibility of the bag and its contents based on chain of custody

grounds, his previous objection regarding the Buchanan testimony

certainly did not preserve his objection to Chapman’s testimony.

Perhaps counsel made a tactical decision not to object to the

evidence which could have easily been confirmed by Eidson.               Had

the Government been forced to call Eidson, it may have strengthened

the Government’s case by eliminating doubt that may could have

arisen in the absence of Eidson’s live testimony.        Or Defendant’s

counsel may have just decided not to run the risk of annoying the

jury by objecting to evidence that counsel knew was essentially

uncontested.

     Whatever Defendant’s counsel’s motivation for not objecting,

he needed to object to preserve any claim of error.          See Fed. R.

Crim. P. 51(b) (“A party may preserve a claim of error by informing

the court—when the court ruling or order is made or sought—of the

action the party wishes the court to take, or the party’s objection

to the court’s action and the grounds for that objection.”); see

also Fed. R. Evid. 103.    The Court understands that it could find


                                   7
    Case 4:21-cr-00032-CDL-MSH Document 160 Filed 02/24/23 Page 8 of 11



that the interest of justice requires a new trial if the admission

of the unobjected to evidence amounts to “plain error.”            A “plain

error that affects substantial rights may be considered even though

it was not brought to the court’s attention.”           Fed. R. Crim. P.

52(b).   For there to be “plain error,” however, (1) the defendant

must not have “affirmatively waived” the error; (2) the “error

must be clear or obvious”; (3) the error must have affected the

outcome of the trial; and (4) the error must seriously affect the

“fairness,    integrity     or    public     reputation     of     judicial

proceedings.”    Puckett v. United States, 556 U.S. 129, 135 (2009)

(internal quotation marks and citation omitted).2

     The admission of this unobjected to hearsay evidence does not

constitute plain error because it likely had no effect on the

outcome of the trial. It arguably allowed the Government to supply

a missing link in the chain of custody through hearsay evidence.

But the bag containing the drugs and the gun would have been

admitted even if that link had not been established.             It is well

established that a break in the chain of custody goes to the weight

that the jury may give to the evidence and does not affect its

admissibility.     United States v. White, 569 F.2d 263, 266 (5th



2 The Court understands that the standard for granting a new trial is
whether the interest of justice requires it. Fed. R. Crim. P. 33(a).
The Court finds that under the circumstances presented here, where the
basis for the new trial is evidence that was not objected to at trial,
the plain error analysis, while not necessarily dispositive, is helpful
in evaluating what the interest of justice requires.


                                    8
     Case 4:21-cr-00032-CDL-MSH Document 160 Filed 02/24/23 Page 9 of 11



Cir. 1978).3        This principle applies whether the chain is broken

before or after the seizure of the evidence by law enforcement

officers.         Id.   Allowing Chapman to relay how he learned of the

previous whereabouts of the bag and what he did in response likely

had no effect on the outcome of the trial.                  With no plain error in

the admission of the hearsay testimony, Defendant’s claim that the

interest of justice requires a new trial is unpersuasive.

        Defendant’s counsel likewise did not object to Chapman’s

hearsay testimony on Confrontation Clause grounds. The Court finds

to the extent a Confrontation Clause violation occurred, it was

not plain error.        No matter how skillful Defendant’s trial counsel

may have been, his cross-examination of Eidson would have likely

made no difference, which may explain why he did not object.

Eidson would have simply testified that he found the bag in the

ditch.      It is not even clear that such evidence would be considered

of     a     sufficiently        testimonial     nature       to   implicate    the

Confrontation Clause.             See Melendez-Diaz v. Massachusetts, 557

U.S.       305,   310   (2009)    (listing     types   of    evidence   considered

testimonial for Confrontation Clause purposes: (1) “ex parte in-

court       testimony     or     its   functional      equivalent,”      such   as

“affidavits, custodial examinations, prior testimony that the



3 In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981)
(en banc), the Eleventh Circuit adopted as binding precedent all
decisions of the former Fifth Circuit handed down prior to the close of
business on September 30, 1981.


                                         9
   Case 4:21-cr-00032-CDL-MSH Document 160 Filed 02/24/23 Page 10 of 11



defendant   was   unable   to    cross-examine,   or   similar   pretrial

statements that declarants would reasonably expect to be used

prosecutorially;”    (2)    extra-judicial    statements “contained in

formalized testimonial materials, such as affidavits, depositions,

prior testimony, or confessions;” and (3) “statements that were

made under circumstances which would lead an objective witness

reasonably to believe that the statement would be available for

use at a later trial.” (internal quotation marks omitted) (quoting

Crawford v. Washington, 541 U.S. 36, 51-52 (2004)).         Here, Eidson

simply told his boss in essence, “look what I found.”             Because

there was no clear Confrontation Clause error and the lack of

opportunity for cross-examination likely made no difference in the

outcome of the trial, the Court finds no plain error.

     Because no error occurred with regard to the testimony of

Buchanan and no plain error occurred regarding the unobjected to

testimony of Chapman, the interest of justice does not require a

new trial on hearsay or Confrontation Clause grounds.

     B. Defendant’s Other Grounds

     Defendant’s other grounds do not require a new trial nor merit

much discussion.    Suffice it to say that Defendant was thoroughly

advised by the Court of his right to testify and that the decision

was his and not his attorney’s.       He voluntarily chose to exercise

his right not to testify.       His regret after the fact rings hollow.

Furthermore, his second-guessing his attorney’s decision not to


                                     10
   Case 4:21-cr-00032-CDL-MSH Document 160 Filed 02/24/23 Page 11 of 11



call a witness likewise falls short.        Legitimate tactical reasons

existed for counsel’s decision.      The interest of justice does not

require a new trial in this case.

                               CONCLUSION

     Based on the foregoing, Defendant’s motion for new trial (ECF

No. 144) is denied.



     IT IS SO ORDERED, this 24th day of February, 2023.

                                        S/Clay D. Land
                                        CLAY D. LAND
                                        U.S. DISTRICT COURT JUDGE
                                        MIDDLE DISTRICT OF GEORGIA




                                   11
